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                     IN THE UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF COLORADO

 In re:                                         )                       Case No. 21-11011-EEB
                                                )
 R. INVESTMENTS, RLLP,                          )                                     Chapter 11
 EIN: XX-XXXXXXX                                )
                                                )
          Debtor.                               )

          ORDER APPROVING SILVER & BROWN, P.C.’S FIRST AND FINAL FEE
             APPLICATION FOR ALLOWANCE OF FEES AND EXPENSES

        This matter having come before the Court upon Silver & Brown, P.C.’s (“S&B”) First and
 Final Application for Allowance of Fees and Expenses (the “Application”), and the Court having
 considered the Application, finding cause for granting the requested relief, and finding that no
 prejudice will exist in granting the Application; it is hereby

          ORDERED that the Application is GRANTED.

          FURTHER ORDERED that S&B shall be allowed fees in the amount of $67,500.00.

        FURTHER ORDERED that S&B is awarded reimbursement of expenses in the amount of
 $465.00.

         FURTHER ORDERED that the fees and expenses awarded herein are approved on a final
 basis and are not subject to any holdback.

          IT IS SO ORDERED.



 Dated: December 20, 2022
                                                 Elizabet
                                                 Elizabeth
                                                       etth E. Brown
                                                 United States Bankruptcy Judge
